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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA


 In RE:
                                                                           BKY Case No.: 24-31355
 Strategic Pork Solutions LLC,

                 Debtor.


   NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF DOCUMENTS
______________________________________________________________________________

        PLEASE TAKE NOTICE that, pursuant to Rule 9010(b) of the Federal Rules of Bankruptcy
Procedure (the “Bankruptcy Rules”) and section 1109(b) of title 11 of the United States Code (the
“Bankruptcy Code”), Phillip J. Ashfield of the law firm of Spencer Fane LLP appears as counsel to
creditor Security Bank Minnesota in the above-captioned adversary case (the “Case”).

        PLEASE TAKE FURTHER NOTICE that, pursuant to Bankruptcy Rules 2002, 3017, 4001,
9001 and 9010 and section 342 and 1109(b) of the Bankruptcy Code, counsel hereby requests that
all documents filed with the Bankruptcy Court, all notices given or required to be given in the Case
be given and served upon the following, and that appropriate entry thereof be made on the Clerk’s
Matrix in this Case:

                                      Phillip J. Ashfield, Esq.
                                        Spencer Fane LLP
                                 100 South Fifth Street, Suite 2500
                                     Minneapolis, MN 55402
                                          (612) 268-7000
                                   pashfield@spencerfane.com

        PLEASE TAKE FURTHER NOTICE that this request includes not only the notices and
papers referred to in the Bankruptcy Rules and Bankruptcy Code provisions specified above, but
also includes, without limitation, all orders, notices, hearing dates, applications, motions, petitions,
requests, complaints, demands, replies, answers, whether formal or informal, whether written or
oral and whether transmitted or conveyed by mail, courier service, hand-delivery, telephone,
telegraph, telex, facsimile transmission, electronic mail or otherwise with regard to the above case.




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Dated: June 11, 2024                      SPENCER FANE LLP

                                                 By: s/ Philip J. Ashfield
                                                 Phillip J. Ashfield (#0388990)
                                                 100 South Fifth Street, Suite 2500
                                                 Minneapolis, MN 55402
                                                 (612) 268-7000
                                                 pashfield@spencerfane.com

                                                 Counsel for Security Bank Minnesota




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                                 CERTIFICATE OF SERVICE

        I, Phillip J. Ashfield, hereby certify that on June 11, 2024, I caused a copy of the foregoing
Notice of Appearance and Request for Service of Notices and Documents to be filed and served
electronically to the parties registered to receive ECF notification from the Court.

                                                              /s/ Phillip J. Ashfield




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